       Case 2:15-cv-06004-RGK-AGR Document 75 Filed 11/22/16 Page 1 of 11 Page ID #:553

                                                    LIST OF EXHIBITS AND WITNESSES
   Case Number            (5 1/    ~ `jam ~il(i~~~{~..         Title        ~j   l,, ~~ 1 /~   ~' l/~ /~ ~ 'T Lrr ~    ~ f ~ `~ ~ ~7
      Judge                                G~~RY KLAUSNER                                                                FILED
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    or Hearing            ~            V~
                                                                                                                                 nr~~

  Court Reporters         ~~ ~ ~~ ~+ ~r ~i (~ ~.
   or Tape No.

  Deputy Clerks           f~ ~ /~. ~ D ,~           ~ l~- ~ ~' I~ C'7                                      BY                           DEPUTY
                    Attorneys)for Plaintiffs)/ PeNtioner(s)                                    Attorney( for Defendants)/ Respondent(s)

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                                                                                       EXHIBIT DESCRIPTION /WITNESS                       Called By
   Ex. No.          Id.           Ev.     Ex. No.        Id.           Ev

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G-65 (03/07)                                                   LIST OF EXHIBITS AND WITNESSES                                      Page     of
 Case 2:15-cv-06004-RGK-AGR Document 75 Filed 11/22/16 Page 2 of 11 Page ID #:554




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 2   THOMAS D. COKER
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 8   Attorneys for the United States of America

 9
                                  U NITED STATES DISTRICT COURT
10
                                  CENTRAL DISTRICT OF CALIFORNIA
11
                                        WESTERN DIVISION
12
13   Howard L. Baldwin and Karen Baldwin,             Case No. CV15-6004 RGK (AGRx)
14        Plaintiffs,                                 Joint Witness List
15               v.                                   Pre-Trial Conference before the
                                                      Honorable R. Gary Klausner:
16   U nited States of America,
                                                      Date:        October 17, 2016
17        Defendant.                                  Time:        9:00 a.m.
                                                      Courtroom:   850
18                                                    Location:    Roybal Federal Building and
                                                                   U nited States Courthouse
19                                                                 255 E. Temple Street
                                                                   Los Angeles, California
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 Case 2:15-cv-06004-RGK-AGR Document 75 Filed 11/22/16 Page 3 of 11 Page ID #:555




 1                                    I. Witnesses for Plaintiffs
 2   A. Howard Baldwin, Plaintiff .NOV 2 2 2016
 3            Brief statement of the testimony
 4            Howard Baldwin will testify about his request and approval for their accountant
 5   to prepare the 2005 amended tax return so as to seek a refund of the taxes paid for
 6   2005; his review and execution of the amended tax return for 2005; the mailing of the
 7   2005 tax return; movie projects written off by Baldwin Entertainment Group Ltd. in
 8   2007 which created the net operation loss that was carried back to 2005 and created
 9   the basis for the refund claim and the fact that the IRS never sought to disallow the loss
10   reflected on the 2007 Baldwin Entertainment Group Ltd. tax return or on his personal
11   IRS form 1040 for 2007.
12            Unique nature of the testimony
13         The testimony of Howard Baldwin is expected to be unique from any other
14   witness as it is based upon his personal knowledge of the facts surrounding the 2005
15   amended return and claim for refund and the movie projects written off by Baldwin
16   Entertainment Group~Ltd. in 2007 which he acted as a producer.
17         Time estimate for testimony
18         The Plaintiffs estimate the testimony of Howard Baldwin will last approximately 2
19   hours.
20   B. Karen Baldwin, Plaintiff
21         Brief statement of the testimony
22         Karen Baldwin will testify about her review and execution of the amended tax
23   return for 2005; the mailing of the 2005 amended return; movie projects written off by
24   Baldwin Entertainment Group Ltd. in 2007 which created the net operation loss which
25   was carried back to 2005 and created the basis for the refund claim.
26         Unique nature of the testimony
27         The testimony of Karen Baldwin is expected to be unique from any other witness
28   as it is based upon her personal knowledge of the facts surrounding the 2005 amended
                                                 2
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 1   return and claim for refund and the movie projects written off by Baldwin
 2   Entertainment Group Ltd. in 2007 which she acted as a producer.
 3            Time estimate for testimony
 4            The Plaintiffs estimate the testimony of Karen Baldwin will last approximately 2
 5   hours.
 6   C. Nicholas Ruta, Administrative Assistant for Plaintiffs     NOV 2 2 2~~6
 7            Brief statement of the testimony
 8            Nicolas Ruta will testify about his request and instructions to Ryan Wuerfel that
 9   Mr. Wuerfel deliver the 2005 amended tax return and claim for refund to the post
10   office for mailing; movie projects written off by Baldwin Entertainment Group Ltd. in
11   2007 which created the net operation loss which was carried back to 2005 and created
12   the basis for the refund claim and the accounting systems in place at Baldwin
13   Entertainment Group Ltd.
14            Unique nature of the testimony
15         The testimony of Nicholas Ruta is expected to be unique from any other witness
16   as it is based upon his personal knowledge of the facts surrounding the 2005 amended
17   return and claim for refund and the movie projects written off by Baldwin
18   Entertainment Group Ltd. in 2007.
19         Time estimate for testimony
20         The Plaintiffs estimate the testimony of Nicholas Ruta will last approximately 2
21   hours.
22   D. Ryan Wuerfel, Plaintiffs' assistant
23         Brief statement of the testimony
24         Ryan Wuerfel will testify about his actions in taking the 2005 amended return
25   and claim for refund to the post office and delivery the same with proper postage for
26   mailing to the IRS.
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 Case 2:15-cv-06004-RGK-AGR Document 75 Filed 11/22/16 Page 5 of 11 Page ID #:557




 1          Unique nature of the testimony
 2          The testimony of Ryan Wuerfel is expected to be unique from any other witness
 3   as it is based upon his personal knowledge of the facts surrounding the mailing of 2005
 4   amended return and claim for refund.
 5          Time estimate for testimony
 6          The Plaintiffs estimate the testimony of Ryan Wuerfel which will be by deposition
 7   will last approximately 15 minutes.
 8                                    II. Witness for Defendant
 9   E. Phillip Conrad, IRS Revenue Officer Advisor       NOV 2 2 2016
10          Brief statement of the testimony
11          Phillip Conrad will testify that IRS Tax Form 1040X is used by individuals to claim a
12   tax refund from the IRS and that based on the instructions for Form 1040X, since
13   Plaintiffs resided in Massachusetts they were required to send their claim for refund to
14   the Internal Revenue Service Center in Kansas City, Missouri.
15          Based on a review of the IRS records, the IRS did not receive a claim for refund
16   from Plaintiffs for tax year 2005 until July 26, 2013. Plaintiffs have also late filed their
17   income tax returns for tax years 2008, 2009, 2010, and 2011.
18          Unique nature of the testimony
19         All of the testimony of Phillip Conrad is expected to be unique from any other
20   witness.
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 Case 2:15-cv-06004-RGK-AGR Document 75 Filed 11/22/16 Page 6 of 11 Page ID #:558




 1           Time estimate for testimony
 2           The United States estimates the testimony of Phillip Conrad will last less than one
 3   hour.
 4
 5                                           Respectfully submitted,

 6                                          EILEEN M. DECKER
                                            U nited States Attorney
 7                                          THOMAS D. COKER
                                            Assistant United States Attorney
 8                                          Chief, Tax Division

 9
10                                          /s/
                                            GAVIN GREENE
11                                          Assistant United States Attorney
                                            Attorneys for Defendant United States of America
12
13                                          CHAMBERLIN & KEASTER LLP

14
15                                          /s/
                                            Robert W. Keaster
16
17                                          WILLIAMS COULSON JOHNSON LLOYD PARKER &
                                            TEDESCO, LLC
18
19
                                            /s/
20                                          Steven J. Lynch (Pro Hoc Vice)
                                            PAID No. 37575
21                                          114 Southpointe boulevard, Suite 200
                                            Canonsburg, PA 15317
22                                          412-422-7612

23                                          Attorneys for Plaintiffs Howard L. Baldwin and
                                            Karen Baldwin
24
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    Case 2:15-cv-06004-RGK-AGR Document 75 Filed 11/22/16 Page 7 of 11 Page ID #:559




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      8    Attorneys for the United States of America

      9
                                        U NITED STATES DISTRICT COURT
     10
                                        CENTRAL DISTRICT OF CALIFORNIA
     11
                                              WESTERN DIVISION
     12
     13    Howard L. Baldwin and Karen Baldwin,         Case No. CV15-6004 RGK (AGRx)

    ' 14        Plaintiffs,                             Revised Joint Exhibit List

     15                v.                               [Local Rule 16-6.1]

     16    U nited States of America,                   Pretrial
                                                        Hearing:     October 17, 2016
     17         Defendant.                              Time:        9:00 a.m.
                                                        Courtroom:   850
     18                                                 Location:    Roybal Federal Building and
                                                                     U nited States Courthouse
     19                                                              255 E. Temple Street
                                                                     Los Angeles, California
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     Case 2:15-cv-06004-RGK-AGR Document 75 Filed 11/22/16 Page 8 of 11 Page ID #:560


          Case Title: Howard L. Baldwin and Karen Baldwin v. United States of America
          Case No.: CV15-6004 RGK (AGRx)
__    1
            No. of
      2     Exhibit    Description                           Date Identified   Date Admitted
      3       1       Certificate of Assessments,
      4               Payments and Other Matters
      5               (Form 4340)for tax year 2005
                                                                                NOV 2 2 201s
      6       2       Certificate of Assessments,
      7               Payments and Other Matters
                                                                                ~~V 2 2 2016
                      (Form 4340)for tax year 2007
      9       3       Instructions for Form 1040X
     10               (Rev. December 2010)                                        NOV 2 2 2016
     11       4       Plaintiffs' Claim for Refund
     12               received July 26, 2013                                    NOV 2 2 2016
     13       5       IRS Denial Letter dated August
     14               12, 2013                                                   NQ~I 2 2 2016
     15       6       Certified Account Transcript for
     16               Howard Baldwin for the period                            NOV 2 2 2~~6
     17               ending March 31, 2012
     18      7        Certified Account Transcript for
     19               Howard and Karen Baldwin for
                                                                                 NDy 2 2 2~~6
     20               tax year 2013
     21      8        United States' First Request for
     22               Admissions from Howard                                    NOV 2 2 2016
     23               Baldwin
     24
     25
     26
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     28                                                  1
Case 2:15-cv-06004-RGK-AGR Document 75 Filed 11/22/16 Page 9 of 11 Page ID #:561


       Case Title: Howard L. Baldwin and Karen Baldwin v. United States of America
       Case No.: CV15-6004 RGK (AGRx)

 1       No. of
 2      Exhibit    Description                          Date Identified   Date Admitted
 3         9       Plaintiffs' Response to United
 4                States' First Request for
 5 ;              Admissions from Howard                                   N~~ 2 2 2~~6
 ~~               Baldwin
 7        10       United States' First Request for
 8                Admissions from Karen Baldwin                           N0V 2 ~ 2016
 9        11      Plaintiffs' Response to United
10                States' First Request for
                                                                            N~V 2 2 2016
11                Admissions from Karen Baldwin
12        12      United States' First Set of
13                I nterrogatories for Howard                                                 ,.
                                                                            ^J~~ 2 2 1~~6
14                Baldwin
15        13      Plaintiffs' Response to United
16                States' First Set of
17                Interrogatories for Howard                               ~HDy 2 2 2016
18                Baldwin
19       14       United States' First Set of
20                Interrogatories for Karen                                  ,nIOV 2 2 2p16
21                Baldwin
22       15       Plaintiffs' Response to United
23                States' First Set of
24                Interrogatories for Karen
                                                                            NOV 2 2 2016
25                Baldwin
26
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28                                                  2
Case 2:15-cv-06004-RGK-AGR Document 75 Filed 11/22/16 Page 10 of 11 Page ID #:562


        Case Title: Howard L. Baldwin and Karen Baldwin v. United States ofAmerica
        Case No.: CV15-6004 RGK (AGRx)
  1       No. of
  2      Exhibit    Description                           Date Identified   Date Admitted
  3        16      Plaintiffs' Response to United
  4                States' First Set of Requests to
  5                Howard Baldwin for Production                             N0~ 2 2 216
  6                of Documents
  7        17      Plaintiffs' Response to United
  8                States' First Set of Requests to
  9                Karen Baldwin for Production                              ~NOV 2 2 2016
10                 of Documents
11         18      Deposition Transcript of Ryan
12                 Wuerfe) taken on August 25,
                                                                              N~~ 2 2 216
13                 2016
14         19      Deposition Video of Ryan
15                 Wuerfel taken on August 25,
16                 zo16                                                     ~NOV 2 2 2016
17         20      Baldwin Entertainment Group
18                 LTD 2005 Form 1120S                                      N0~ 2 2 206
19        21       Baldwin Entertainment Group
20                 LTD 2006 Form 1120S                                        N~~ 2 2 ~~~~
21        22       Baldwin Entertainment Group
22                 LTD 2007 Form 1120S                                        NOV 2 2 2~~6
23        23       Howard and Karen Baldwin
24                 2005 Form 1040                                            Nov z 2 2o~s
25        24       Howard and Karen Baldwin
26                 2007 Form 1040                                            N~V 2 2 2~~6
27
28 II                                                 3
Case 2:15-cv-06004-RGK-AGR Document 75 Filed 11/22/16 Page 11 of 11 Page ID #:563


        Case Title: Howard L. Baldwin and Karen Baldwin v. United States ofAmerica
        Case No.: CV15-6004 RGK (AGRx)

  1       No. of
  2      Exhibit   Description                        Date Identified   Date Admitted
  3 '      25      Baldwin Entertainment Group
  4                LTD 2007 Bank Statements            NOV 2 2 2016       'NDY 2 2 ~0~6

  5        26      Baldwin Entertainment Group
  6                LTD 2007 Financial Records          Nov 2 2 2016        NOV 2 2 2016
  7        27      Baldwin Entertainment Group
  8                LTD Mandrake Documents
  9        28      Baldwin Entertainment Group
 10                LTD Rat's Tale Documents
 11        29      Baldwin Entertainment Group
 12                LTD Phantom Documents
 13        30      Howard and Karen Baldwin IRS
14                                                                         N~~ 2 2 216
                   Appeal Documents
15         31      Steven J. Zakrzewski
16                 Documents                                               HOV 2 2 2016
17        32       Howard and Karen Baldwin IRS
18                 Denial of Claim Documents                               NOV 2 2 2016
19        33       2005 Form 1040X Instructions
                                                                          'NOV 2 2 2016
20        34       IRS Notice 2007-35                                          2 2 2016
21
          35       Letter from Thomas V. Ruta
22                 dated June 6, 2011                  HOV 2 2 2016        NOV 2 2 2016
23
          3 1~     ~' t? n'lu 2~--~! ~r
24                                                    NOV 2 2 2016        ~~V 2 2X018
25
26
27
28 II                                             4
